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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                 ) Chapter 11
    In re:
                                                                 )
    STRIKE, LLC, et al., 1                                       ) Case No. 21-90054 (DRJ)
                            Debtors.                             )
                                                                 ) (Jointly Administered)
                                                                 )
                   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

             PLEASE TAKE NOTICE that pursuant to section 1109(b) of title 11 of the United States

Code (the “Bankruptcy Code”) and Federal Rule of Bankruptcy Procedure 2002 (the “Bankruptcy

Rules”), Parkins Lee & Rubio LLP hereby enters its appearance as counsel to FVL, Ltd., Ford J.

Frost, and Claudia Wilson Frost (the “Frost Creditors”), creditors and parties-parties-in interest in

the above-styled and jointly administered chapter 11 cases. The undersigned respectfully requests

that all notices given or required to be given in this proceeding and all papers served or required

to be served in this proceeding, be served upon the following:

                                   PARKINS LEE & RUBIO LLP
                                   Lenard M. Parkins
                                   R. J. Shannon
                                   Pennzoil Place
                                   700 Milam Street, Suite 1300
                                   Houston, Texas 77002
                                   Email: lparkins@parkinslee.com
                                           rshannon@parkinslee.com
                                   Phone: 713-715-1660

             PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service is not only for the notices and other documents referred to in the Rules specified above but

includes, without limitation, all orders, notices, applications, motions, petitions, schedules of assets


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Strike, LLC (2120); Strike HoldCo, LLC (0607); Delta Directional Drilling, LLC (9896); Strike Global
Holdings, LLC (4661); Capstone Infrastructure Services, LLC (0161); and Crossfire, LLC (7582).
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and liabilities, statements of financial affairs, pleadings, requests, complaints or demands, whether

formal or informal, whether written or oral, and whether transmitted or conveyed by mail, courier

service, hand-delivery, telephone, facsimile transmission, email or otherwise.

        PLEASE TAKE FURTHER NOTICE that the Frost Creditors do not intend that this Notice

of Appearance and Request for Service or any later appearance, pleading, proof of claim, claim or

suit be deemed or construed to be a waiver of (1) the right to have final orders entered only after

de novo review by the U.S. District Court for the Southern District of Texas (the “District Court”),

(2) the right to trial by jury in any proceeding so triable in these cases or any case, controversy or

proceeding related to these cases, (3) the right to have the District Court withdraw the reference in

any matter subject to mandatory or discretionary withdrawal, or (4) any other rights, claims,

actions, defenses, setoffs, or recoupments to which the Frost Creditors is or may be entitled, in law

or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments the Frost

Creditors expressly reserves. All of the Frost Creditor’s rights are reserved and preserved, without

exception and without confessing or conceding jurisdiction in any way by this filing or by any

other participation in this case.

                            [Remainder of Page Intentionally Left Blank]




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 Dated: January 7, 2022                      Respectfully submitted,

                                             /s/Lenard M. Parkins                             .
                                             PARKINS LEE & RUBIO LLP
                                             Lenard M. Parkins (TBA No. 15518200)
                                             R. J. Shannon (TBA No. 24108062)
                                             Pennzoil Place
                                             700 Milam Street
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                                                     rshannon@parkinslee.com

                                             Counsel to FVL, Ltd., Ford J. Frost, and Claudia
                                             Wilson Frost




                               CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2022, the forgoing document was served through the
Court’s CM/ECF System on all parties registered to receive such service.


                                             /s/R. J. Shannon                             .
                                             R. J. Shannon




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